                          ON REHEARING.
On rehearing granted in this case, we have reviewed our opinions in 277 Mich. 187 and 281 Mich. 188, and also have examined the record. Respondent again stresses his services to the State of Michigan and to the nation in the world war. He *Page 469 
claims that he was convicted through perjured testimony; that at most, amidst the rush of business, he was guilty of an oversight or carelessness in his desire to obtain the maximum of funeral expenses under the compensation act for a very needy client. Much depends in the determination of the case on the credibility of the witnesses. The trial judges had an opportunity to see them, and we find no reason to disturb their decision.
The order of the trial court is affirmed, but without costs.
BUTZEL, C.J., and WIEST, BUSHNELL, SHARPE, CHANDLER, NORTH, and McALLISTER, JJ., concurred. POTTER, J., concurred in the result.